                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                )
In re:                                                          )   Chapter 11
                                                                )
VER TECHNOLOGIES HOLDCO LLC, et al.,1                           )   Case No. 18-10834 (KG)
                                                                )
                                   Debtors.                     )   (Jointly Administered)
                                                                )

                                  Objection Deadline: January 18, 2019 at 4:00 p.m. (prevailing Eastern Time)
                                     Hearing Date: February 13, 2019 at 11:00 a.m. (prevailing Eastern Time)

    SECOND OMNIBUS (SUBSTANTIVE) OBJECTION PURSUANT TO SECTION 502(b)
                 OF THE BANKRUPTCY CODE, BANKRUPTCY
                RULES 3003 AND 3007, AND LOCAL RULE 3007–1

   PARTIES RECEIVING THIS OMNIBUS OBJECTION TO CLAIMS SHOULD
 LOCATE THEIR NAMES AND THEIR CLAIM(S) IN THE ATTACHED EXHIBIT.
                   ————————————————
YOUR RIGHTS MAY BE AFFECTED BY THIS OBJECTION AND BY ANY FURTHER
       OBJECTION THAT MAY BE FILED AGAINST YOUR CLAIM(S).

                 The Debtors, and through the merger effectuated via the Plan,2 Production

Resource Group Inc. (“PRG”; together with the Debtors, the “Reorganized Debtor”), by and

through its undersigned counsel, hereby objects (the “Objection”) pursuant to section 502 of the

Bankruptcy Code, Rules 3003 and 3007 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), and Local Rule 3007–1 of the Local Rules of the Bankruptcy Court for the

District of Delaware (the “Local Rules”), to the claims listed on Exhibit 1 (the “No Liability

Claims”), Exhibit 2 (the Reduce Claims”), and Exhibit 3 (the “Reduce and Reclassify Claims”;

together with the Amended Claims and the Duplicate Claims, the “Objectionable Claims”), to


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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: VER Technologies HoldCo LLC (7239); CPV Europe Investments LLC (2533); FAAST Leasing
California, LLC (7857); Full Throttle Films, LLC (0487); Maxwell Bay Holdings LLC (3433); Revolution Display,
LLC (6711); VER Finco, LLC (5625); VER Technologies LLC (7501); and VER Technologies MidCo LLC (7482).
The location of the Debtors’ service address is: 757 West California Avenue, Building 4, Glendale, California
91203.
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  The Debtors’ Plan of Reorganization was confirmed by the Court at Docket No. 647.

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the proposed order (attached hereto as Exhibit B), and requests entry of an order substantially in

the form attached as Exhibit B. In support of this Objection, the Reorganized Debtor submits the

Declaration of Eugene Eskin (the “Declaration”), attached hereto as Exhibit B. In further

support of this Objection, the Reorganized Debtor represents as follows:

                                     Jurisdiction and Venue

               1.      The Court has jurisdiction to consider this Objection under 28 U.S.C. §§

157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012. This matter is a core proceeding

within the meaning of 28 U.S.C. § 157(b)(2), and the Reorganized Debtor confirms its consent

pursuant to Rule 9013–1(f) of the Local Rules of Bankruptcy Practice and Procedure of the

United States Bankruptcy Court for the District of Delaware (the “Local Rules”) to the entry of a

final order by the Court in connection with this Motion to the extent that it is later determined

that the Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution.

               2.      Venue of these cases and this Objection in this district is proper under 28

U.S.C. §§ 1408 and 1409.

               3.      The statutory predicates for the relief requested herein are Bankruptcy

Code section 502, Bankruptcy Rules 3003 and 3007, and Local Rule 3007–1.

                                           Background

A.     General Background

               4.      The Debtors were one of the largest suppliers of rental production

equipment and solutions in the world. Corporate, television, cinema, live music, hotel, and sports

clients relied on the Debtors for their expansive inventory of equipment, deep expertise, global



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reach, and culture of service. The Debtors offered their clients three primary services: pure

equipment rental, creation of equipment specified to the client’s expectations through the use of

internal support resources, and full-service consulting throughout the client’s specific event or

process. In addition, the Debtors provided custom LED installations for corporate clients, with

displays designed to meet such clients’ unique specifications. The Debtors and their affiliates

operated in approximately 31 locations in North America and four locations in Europe, from

which they are able to provide service and support to most of the world.

               5.     On April 5, 2018 (the “Petition Date”), each of the Debtors filed a petition

with the Court under chapter 11 of the Bankruptcy Code. The Debtors’ chapter 11 cases have

been consolidated for procedural purposes only and are being jointly administered pursuant to

Bankruptcy Rule 1015(b) [Docket No. 58].

               6.     Additional information regarding the Debtors and these cases, including

the Debtors’ businesses, corporate structure, financial condition, and the reasons for and

objectives of these cases, is set forth in the Disclosure Statement for the Amended Joint Chapter

11 Plan of Reorganization of VER Technologies Holdco LLC and its Debtor Affiliates Pursuant

to Chapter 11 of the Bankruptcy Code (the “Disclosure Statement”) [Docket No. 418].

               7.     On July 26, 2018, the Court confirmed a plan of reorganization (the

“Plan”) [Docket No. 647]. The Effective Date of the Plan was August 21, 2018 [Docket No.

749].

B.      General Bar Date

               8.     On April 13, 2018, the Debtors filed a motion [Docket No. 96] (the “Bar

Date Motion”) requesting an order establishing June 8, 2018 (the “General Bar Date”) as the

deadline for filing claims against the Debtors that arose prior to the Petition Date (including



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section 503(b)(9) claims), and October 2, 2018 (the “Governmental Claims Bar Date”) as the bar

date for Governmental Units. On May 4, 2018, the Court entered an order approving the Bar

Date Motion [Docket No. 224] (the “Bar Date Order”).

               9.      The Debtors subsequently served the bar date notice as approved in the

Bar Date Order and a proof of claim form on all creditors and equity holders of the Debtors. The

certificate of service for the Bar Date Notice is at Docket No. 261.

               10.     Pursuant to the Bar Date Order, the Debtors also caused notice of the

General Bar Date to be published in the New York Times, the Los Angeles Times, and USA

Today. Affidavits of publication have been filed with the Court [Docket Nos. 294, 298, and 299].

                                         Relief Requested

               11.     By this Objection, the Reorganized Debtor seeks entry of an order,

pursuant to Bankruptcy Code section 502, Bankruptcy Rules 3003 and 3007, and Local Rule

3007–1, (a) disallowing and expunging the No Liability Claims, identified in Exhibit 1 to the

Proposed Order, in full; (b) reducing the Reduce Claims, identified in Exhibit 2 to the Proposed

Order; and (c) and reducing and reclassifying the Reduce and Reclassify Claims, identified in

Exhibit 3 to the Proposed Order. This Objection is made on substantive grounds under Local

Rule 3007–1(d) and complies in all respects with that rule.

               12.     Each of the No Liability Claims is a claim for which the listed Debtor is

not liable. Accordingly, the Reorganized Debtor seeks to disallow and expunge the No Liability

Claims.

               13.     Each of the Reduce Claims is a claim which overstates the amount owed

by the estates. Accordingly, the Reorganized Debtor seeks to disallow in part the Reduce Claims

and reduce such claims in the amounts indicated on Exhibit 2.



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               14.     Each of the Reduce and Reclassify Claims is a claim which overstates the

amount owed by the estates, and indicates a priority of payment to which the claim is not

entitled. Accordingly, the Reorganized Debtor seeks to disallow in part the Reduce and

Reclassify Claims and reduce and reclassify such claims in the amounts and classifications

indicated on Exhibit 3.

                                          Basis for Relief

               15.     Pursuant to section 502(a) of the Bankruptcy Code, any claim for which a

proof of claim has been filed under section 501 of the Bankruptcy Code shall be deemed allowed

unless a party in interest objects. If an objection is filed, the Court, upon notice and a hearing,

shall determine the proper and appropriate amount of such claim. See 11 U.S.C. § 502(b).

               16.     When asserting a proof of claim against a bankrupt estate, a claimant must

allege facts that, if true, would support a finding that the debtor is legally liable to the claimant.

In re Allegheny Int’l, Inc., 954 F.2d 167, 173 (3d Cir. 1992); Matter of Int’l Match Corp., 69

F.2d 73, 76 (2d Cir. 1934) (finding that a proof of claim should at least allege facts from which

legal liability can be seen to exist). Where the claimant alleges sufficient facts to support its

claim, its claim is afforded prima facie validity. In re Allegheny Int’l, Inc., 954 F.2d at 173. A

party wishing to dispute such a claim must provide evidence in sufficient force to negate the

claim’s prima facie validity. Id. In practice, the objecting party must produce evidence that

would refute at least one of the allegations essential to the claim’s legal sufficiency. Id. Once the

objecting party produces such evidence, the burden shifts back to the claimant to prove the

validity of his or her claim by a preponderance of the evidence. Id. The burden of persuasion is

always on the claimant. Id.

No Liability Claims



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              17.     The Reorganized Debtor and its representatives have examined the No

Liability Claims listed on Exhibit 1 and, based upon a review of the claims and their

attachments, and the Debtors’ books and records, the Reorganized Debtor has determined that

the No Liability Claims seek recovery for amounts for which the Debtors and estates are not

liable.

              18.     Accordingly, to ensure the accuracy of the claims register and avoid an

improper payment on behalf of the No Liability Claims, the Reorganized Debtor requests that the

Court disallow and expunge the No Liability Claims from the claims register.

Reduce Claims

              19.     The Reorganized Debtor and its representatives have examined the

Reduce Claims listed on Exhibit 2 and, based upon a review of the of the claims and their

attachments, and the Debtors’ books and records, the Reorganized Debtor has determined that

the Reduce Claims overstate the amount for which the estates are liable, and the amounts

asserted therein should be disallowed in part and reduced in the amounts indicated on Exhibit 2.

              20.     Accordingly, to ensure the accuracy of the claims register, the

Reorganized Debtor requests that the Court partially disallow the Reduce Claims and reduce

such claims in the amounts indicated on Exhibit 2.

Reduce and Reclassify Claims

              21.     The Reorganized Debtor and its representatives have examined the

Reduce and Reclassify Claims listed on Exhibit 3 and, based upon a review of the of the claims

and their attachments, and the Debtors’ books and records, the Reorganized Debtor has

determined that the Reduce and Reclassify Claims overstate the amount for which the estates are




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liable. The amounts asserted therein should be disallowed in part and reduced in the amounts

indicated on Exhibit 3.

               22.     In addition to reducing to the proper amount, the Reorganized Debtor

seeks to reclassify the Reduce and Reclassify Claims to the proper classification, as their current

classification does not accurately represent a valid claim against the estates. If the Reduce and

Reclassify Claims are not reclassified, the claimants may receive a recovery inconsistent with

their applicable classification, potentially prejudicing other creditors in these cases. No prejudice

will result to the holders of the Reduce and Reclassify Claims from the reclassification because

they will continue to hold their claims, but will receive the correct treatment for those claims

consistent with other similarly situated claimants in the proper classification. The claims should

be reclassified to the classes indicated on Exhibit 3.

                                            Responses

A.     Filing and Service of Responses

               23.     In order to contest the Objection, a claimant must file a written response to

the Objection (a “Response”) with the United States Bankruptcy Court for the District of

Delaware (the “Bankruptcy Court”), 824 North Market Street, Wilmington, Delaware 19801, and

must serve such Response so as to be actually received by the undersigned counsel by

January 18, 2019 at 4:00 p.m. (prevailing Eastern Time) at the following addresses:


       (a) the Reorganized Debtor: Joseph T. Moldovan, Esq., Morrison Cohen LLP, 909 Third
       Avenue, New York, NY 10022-4784; and Laura Davis Jones, Pachulski Stang Ziehl &
       Jones LLP, 919 North Market Street, 17th Floor, Wilmington, DE 19801; and

       (b) the Office of the United States Trustee, 844 King Street, Suite 2207, Lockbox 35,
       Wilmington, DE 19801.




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B.     Contents of Responses

               24.    Every Response must contain, at a minimum, the following information:

        a.    a caption setting forth the name of the Bankruptcy Court, the name of the Debtors,
the case number, and the title of the objection to which the Response is directed;

       b.       the name of the claimant and description of the basis for the amount of the claim;
a concise statement specifically setting forth the reasons why the claim should not be disallowed
by the Bankruptcy Court in the manner set forth in the objection, including, but not limited to,
the specific factual and legal bases in support of the Response;

        c.    all documentation or other evidence of the claim, to the extent not included with
the Claim previously filed with the Court, upon which the claimant will rely in opposing the
objection;

      d.     the address(es), if different from that or those presented in the claim to which the
Reorganized Debtor must return any reply to the Response; and

        e.      the name, address and telephone number of the person possessing ultimate
authority to reconcile, settle, or otherwise resolve the claim.

C.     Timely Response Required; Hearing Dates; Replies

               25.    If a Response is properly and timely filed and served in accordance with

the above procedures, the Reorganized Debtor will make efforts to reach a consensual resolution

with the claimant. If no consensual resolution is reached, the Court will conduct a hearing (the

“Hearing”) with respect to the Objection and the Response on February 13, 2019 at 11:00 a.m.

(prevailing Eastern Time), or such other date and time as the parties filing Responses may be

notified. Only those Responses made in writing and timely filed and received will be considered

by the Bankruptcy Court at any such hearing.

               26.    If a claimant whose claim is subject to the Objection, and who is served

with the Objection, fails to file and serve a Response by no later than January 18, 2019, at

4:00 p.m. (prevailing Eastern Time) or does not object to the relief requested in this Objection,




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the Reorganized Debtor will file a certificate of no response and submit to the Bankruptcy Court

a proposed order substantially in the form annexed hereto.

               27.    The Reorganized Debtor may, at its option, file and serve a reply to

claimant’s Response no later than 4:00 p.m. (prevailing Eastern Time) the day before the hearing

agenda is due for the Hearing on the Objection.

                                  Separate Contested Matters

               28.    To the extent that a Response is filed regarding any Claim identified in

this Objection and the Reorganized Debtor is unable to resolve the Response, the objection by

the Reorganized Debtor to each such Claim asserted herein shall constitute a separate contested

matter as contemplated by Bankruptcy Rule 9014. Any order entered by the Court regarding an

objection asserted in the Objection shall be deemed a separate order with respect to each Claim.

                                     Reservation of Rights

               29.    The Reorganized Debtor expressly reserves the right to amend, modify, or

supplement the Objection, and to file additional objections to any claims filed in these chapter 11

cases including, without limitation, omnibus and substantive objections with respect to any of the

Objectionable Claims or any other claims filed in these chapter 11 cases, to the extent permitted

in the Bankruptcy Code, Bankruptcy Rules, and Local Rules. Should this Objection be dismissed

or overruled, the Reorganized Debtor also reserves the right to object to any of the Objectionable

Claims on any grounds that governing law permits. Further, any and all affirmative claims the

Reorganized Debtors’ estates have against any or all of the claimants are specifically preserved

and are not affected by this Objection.




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                                    Adjournment of Hearing

               30.     The Reorganized Debtor reserves the right to adjourn the hearing on any

claim subject to the Objection. In the event that the Reorganized Debtor adjourns the hearing, the

adjournment will be reflected on the agenda for the hearing on the Objection.

                                        No Prior Request

               31.     No previous request for the relief sought herein has been made to this or

any other court. This Objection is the Reorganized Debtor’s second omnibus objection to claims.

                                              Notice

               32.     Notice of this motion will be provided to: (a) the Office of the United

States Trustee for the District of Delaware; (b) any party filing a notice of appearance and

request for service of papers; and (c) each claimant subject to this Objection. The Reorganized

Debtor submits that, in light of the nature of the relief requested, no other or further notice need

be given.

                              Compliance with Local Rule 3007–1

               33.     This Objection and related exhibits comply with Local Rule 3007–1. To

the extent that this Court disagrees, the undersigned counsel for the Reorganized Debtor believes

that any such deviations are not material and respectfully request that they be deemed compliant.




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                                          Conclusion

              WHEREFORE, for the reasons stated above and in Exhibits 1 through 3 to the

Proposed Order, the Reorganized Debtor respectfully requests entry of the Proposed Order,

substantially in the form attached hereto as Exhibit A, sustaining the Objection in all respects

and disallowing and expunging, reducing, or reducing and reclassifying the claims identified in

Exhibits 1 through 3 to the Proposed Order, together with such other and further relief as the

Court deems just and proper.

Dated: Wilmington, Delaware
       January 4, 2019
                                            PACHULSKI STANG ZIEHL & JONES LLP

                                            /s/ Peter J. Keane
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                                            Peter J. Keane (DE Bar No. 5503)
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